                  Case 20-12456-JTD                 Doc 201        Filed 10/28/20           Page 1 of 3




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re                                                                   Chapter 11

RTI HOLDING COMPANY, LLC., et al.1,                                     Case No. 20–12456 (JTD)

                                       Debtors.                         (Jointly Administered)

         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that the undersigned appear in the above-captioned chapter

11 cases as proposed counsel to the Official Committee of Unsecured Creditors and, pursuant to

Rules 2002 and 9010(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

and section 1109(b) of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the

“Bankruptcy Code”), request that all notices given or required to be given and all papers served

in these cases be delivered to and served upon the parties identified below at the following

addresses:




1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification number are as follows:
RTI Holding Company, LLC (4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC (1391); RTBD, LLC (6505); RT of Carroll
County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit Franchise, LLC (8738); RT Distributing, LLC (6096); RT
Finance, LLC (7242); RT FL Gift Cards, Inc. (2189); RT Florida Equity, LLC (7159); RT Franchise Acquisition, LLC (1438);
RT of Fruitland, Inc. (1103); RT Indianapolis Franchise, LLC (6016); RT Jonesboro Club (2726); RT KCMO Franchise, LLC
(7020); RT Kentucky Restaurant Holdings, LLC (7435); RT Las Vegas Franchise, LLC (4969); RT Long Island Franchise, LLC
(4072); RT of Maryland, LLC (7395); RT Michiana Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT
Minneapolis Franchise, LLC (2746); RT Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC (4970); RT New
Hampshire Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha Franchise, LLC (7442); RT
Omaha Holdings, LLC (8647); RT One Percent Holdings, LLC (6689); RT One Percent Holdings II, LLC (2817); RT Orlando
Franchise, LP (5105); RT Restaurant Services, LLC (7283); RT South Florida Franchise, LP (3535); RT Southwest Franchise,
LLC (9715); RT St. Louis Franchise, LLC (6010); RT Tampa Franchise, LP (5290); RT Western Missouri Franchise, LLC
(6082); RT West Palm Beach Franchise, LP (0359); RTTA, LP (0035); RTT Texas, Inc. (2461); RTTT, LLC (9194); Ruby
Tuesday of Allegany County, Inc. (8011); Ruby Tuesday of Bryant, Inc. (6703); Ruby Tuesday of Columbia, Inc. (4091); Ruby
Tuesday of Frederick, Inc. (4249); Ruby Tuesday of Linthicum, Inc. (8716); Ruby Tuesday of Marley Station, Inc. (1641); Ruby
Tuesday of Pocomoke City, Inc. (0472); Ruby Tuesday of Russellville, Inc. (1601); and Ruby Tuesday of Salisbury, Inc. (5432).
The Debtors’ mailing address is 333 East Broadway Ave., Maryville, TN 37804.



40000/0813-21554882v1
                 Case 20-12456-JTD      Doc 201        Filed 10/28/20   Page 2 of 3




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         PLEASE TAKE FURTHER NOTICE that pursuant to section 1109(b) of the

Bankruptcy Code, the foregoing request includes not only the notices and papers referred to in

the above-referenced Bankruptcy Rules, but also includes, without limitation, all orders,

applications, motions, petitions, pleadings, requests, complaints or demands, whether formal or

informal, written or oral, transmitted or conveyed by mail delivery, hand-delivery, telephone,

facsimile transmission or otherwise, in these cases.

         PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance and

Request for Service of Papers (this “Notice”) nor any later appearance, pleading, proof of claim,

claim or suit shall constitute a waiver of (i) the right to have final orders in non-core matters

entered only after de novo review by a District Judge, (ii) the right to trial by jury in any

proceeding related to, or triable in, these cases or any case, controversy or proceeding related to

these cases, (iii) the right to have the District Court withdraw the reference in any matter subject

to mandatory or discretionary withdrawal, (iv) any objection to the jurisdiction of this Court for

any purpose other than with respect to this Notice, (v) an election of remedy, or (vi) any other

rights, claims, actions, defenses, setoffs or recoupments as appropriate, in law or in equity, under

any agreements, all of which rights, claims, actions, defenses, setoffs and recoupments are

expressly reserved.




                                                 2
40000/0813-21554882v1
                 Case 20-12456-JTD   Doc 201     Filed 10/28/20    Page 3 of 3




Dated: October 28, 2020                    COLE SCHOTZ P.C.

                                     By:    /s/ Justin R. Alberto
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                                           – and –

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                                           Proposed Counsel to the Official Committee of
                                           Unsecured Creditors




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40000/0813-21554882v1
